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                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

 David J. Smith                                                                    For rules and forms visit
 Clerk of Court                                                                    www.ca11.uscourts.gov


                                        December 01, 2021

  Clerk - Middle District of Florida
  U.S. District Court
  801 N FLORIDA AVE
  TAMPA, FL 33602-3849

  Appeal Number: 19-14784-CC
  Case Style: USA v. Levine Archer
  District Court Docket No: 8:91-cr-00301-EAK-AAS-4

  The enclosed copy of the Clerk's Order of Dismissal pursuant to appellant's motion to dismiss is
  issued as the mandate of this court. See 11th Cir. R. 42-1(a).

  Any pending motions are now rendered moot in light of the attached order.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Carol R. Lewis/cb, CC
  Phone #: (404) 335-6179

  Enclosure(s)
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            USCA11 Case: 19-14784 Date Filed: 12/01/2021 Page: 2 of 2


                       IN THE UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT

                                        ______________

                                       No. 19-14784-CC
                                       ______________

  UNITED STATES OF AMERICA,

                                                  Plaintiff - Appellee,

  versus

  LEVINE JUSTICE ARCHER,
  a.k.a. Jamaican Joe,

                                             Defendant - Appellant.
                       __________________________________________


                          Appeal from the United States District Court
                               for the Middle District of Florida
                       __________________________________________

  ORDER: Pursuant to Appellant Levine Justice Archer's motion for voluntary dismissal, FRAP
  Rule 42 and 11th Cir. R. 42-1(a), the above referenced appeal was duly entered dismissed on
  this date.

  Effective December 01, 2021.

                                       DAVID J. SMITH
                            Clerk of Court of the United States Court
                               of Appeals for the Eleventh Circuit

                                                         FOR THE COURT - BY DIRECTION
